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sMITH & NEPHEW, INC., ga mann

Piaimiff, ' `
v. No. 02-2455-13

FEDERAL INSURANCE COMPANY,

Defendant.

 

ORDER CORRECTING ORDER AFFIRMING DECISION OF THE MAGISTRATE JUDGE

 

On May 3, 2005, the Court entered an order affirming the March 24, 2005, decision of the
magistrate judge granting the motion of the Defendant, Federal Insurance Company, to file an amended
answer. Although the Court agreed with the magistrate judge’s determination, its order stated that the
"Defendant’s" objections Were overruled when the order should have read that the "Plaintiff’S"
objections Were overruled.

Accordingly, the May 3, 2005 order is corrected to reflect that the Plaintiff’s objections were
overruled and that in all other respects, the magistrate judge’s order is affirmed

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IT IS SO ORDERED this 20 day or May, 2005.

/

. DANIEL BREEN \
IT sTATEs DISTRICT JUDGE

 

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Honorable J. Breen
US DISTRICT COURT

